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WCS and Kroger Family Suncor Price Comparisons

Grand Junction: #2D 15 PPM SULFUR MV DIESEL
JAN FEB MARAPR MAY JUN JUL AUG SEP OCT NOV DEC

2009
Sunday
Monday
Tuesday
Wednesday
Thursday
Friday
Saturday

2010
Sunday
Monday
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2011
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[Jwcs paid a higher price flwcs paid a lower price [ ]No comparable transaction

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WCS and Kroger Family Suncor Price Comparisons

Grand Junction: UNL CONV 85 10% ETH G
JAN FEB MARAPR MAY JUN JUL AUG SEP OCT NOV DEC
2009
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fjwcs paid a higher price jwcs paid a lower price []No comparable transaction
Case 1:11-cv-01611-MSK-CBS Document 264-5 Filed 11/20/13 USDC Colorado Page 3 of 3

WCS and Kroger Family Suncor Price Comparisons

Grand Junction: UNL CONV 91 10% ETH G
JAN FEB MAR APR MAY JUN JUL AUG SEP OCT NOV DEC
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fJwcs paid a higher price [Jwcs paid a lower price []No comparable transaction
